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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ROBERT T. BROCKMAN,                       §
                                          §
              Plaintiff,                  §
                                          §
              v.                          §         Civil Action No. 4:22-cv-00202-GCH
                                          §
UNITED STATES OF AMERICA,                 §
                                          §
              Defendant.                  §

            MARCH 18, 2022 DECLARATION OF KATHRYN KENEALLY

       I, Kathryn Keneally, declare as follows:

       1.     I am a member of the bar of the State of New York, the United States

Supreme Court, and various other federal courts. I am a partner of the law firm Jones

Day, counsel for Plaintiff Robert T. Brockman. I make this Declaration in support of

Plaintiff Robert T. Brockman’s Supplemental Memorandum (1) in Support of Motion for

Determination on Complaint and for Judicial Review and Abatement of Jeopardy

Assessment and Jeopardy Levy or (2) in the Alternative, for a Stay of IRS Collection.

       2.     Attached hereto as Exhibit A is a copy of a letter dated March 15, 2022

from Mark A. Srere, counsel to BCT Limited, to IRS Supervising Revenue Officer James

Ashton, and copied to counsel for the IRS and counsel for both parties in this matter,

among others.




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      I declare under penalty of perjury that the foregoing is true and correct.

Executed in New York, New York on March 18, 2022.

                                                 /s/ Kathryn Keneally
                                                 Kathryn Keneally




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                             EXHIBIT A
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